   Case 1:15-cv-08910-AJN              Document 58       Filed 07/29/16       Page 1 of 16



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENNETH JOSEPH, BRADONBAY, LTD.,
and KWD, INC.,
                Plaintiff,

                   -against-                           Case No. 15 Civ. 8910 (AJN/BCM)

GNUTTI CARLO, S.p.A. and
WH INDUSTRIES DELAWARE, INC.,
d/b/a GNUTTI CARLO USA, INC.

                       Defendants.

GNUTTI CARLO, S.p.A. and
GNUTTI CARLO USA, INC.,

                             Counter-Plaintiffs,

                   -against-

KENNETH JOSEPH, BRADONBAY, LTD.,
and KWD, INC.,

                             Counter-Defendants.


              REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE

       The United States District Court for the Southern District of New York

presents its compliments to the Senior Master of the Court of Judicature, Queen’s Bench

Division and requests assistance in obtaining evidence to be used in a civil proceeding now

pending before this Court.

       The District Court requests that the Senior Master approve the Defendants’ nomination of

a practicing Barrister or such other qualified person as the Court deems fit, to act as Examiner for

the purpose of obtaining evidence for trial from four witnesses.

       This request is made pursuant to, and in conformity with, the Hague Convention of 18

March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters, to which both

the United States and the United Kingdom are a party.




                                                   1
     Case 1:15-cv-08910-AJN          Document 58          Filed 07/29/16      Page 2 of 16



        The Court considers that the evidence sought is directly relevant to the issues in dispute

and is not discovery within the meaning of Article 23 of the Hague Evidence Convention, that is,

discovery intended to lead to relevant evidence for trial. It is expected, based on existing

timetables, that the United States District Court for the Southern District of New York

will schedule trial on or about the fourth quarter of 2016.

        The particulars of this Hague Evidence Request are as follows:

1.       Sender:                            Honorable Alison J. Nathan
                                            District Judge,
                                            United States District Court for the Southern
                                            District of New York

Central Authority of the Requested COMPETENT AUTHORITY FOR
State:                             ENGLAND AND WALES
                                   Senior Master
                                   Queen’s Bench Division
                                   ROYAL COURTS OF JUSTICE
                                   Strand
                                   London WC2A 2LL
                                   UNITED KINGDOM

                                            On behalf of:

                                            THE CENTRAL AUTHORITY FOR THE
                                            UNITED KINGDOM

                                            Her Majesty's Principal Secretary of State for
                                            Foreign Affairs

                                            FOREIGN AND COMMONWEALTH
                                            OFFICE

                                            King Charles Street

                                            London SW1A 2AH, England,

                                            UNITED KINGDOM

3.      Person to whom the executed Defendants’ Legal Representative in the UK:
        request is to be returned:
                                    Steven Loble, Esq.
                                    W Legal Limited
                                    47 Red Lion Street
                                    London
                                    WC1R 4PF
                                    Ref. SFL/


                                                 2
     Case 1:15-cv-08910-AJN       Document 58            Filed 07/29/16    Page 3 of 16



                                         on behalf of:

                                         Honorable Alison J. Nathan
                                         District Judge
                                         United States District Court for the Southern
                                         District of New York

4.      In conformity with Article 3 of the Convention, the undersigned applicant
        has the honor to submit the following requests:

5a.     Requesting Judicial              Honorable Alison J. Nathan
        Authority:                       District Judge
                                         United States District Court for the Southern
                                         District of New York

5b.     To the competent authority of:   THE UNITED KINGDOM OF GREAT
                                         BRITAIN AND NORTHERN IRELAND


6.      Names and addresses of the
        parties       and     their
        representatives:

         a.      Plaintiffs:             Bradonbay, Ltd., Kenneth Joseph, and
                                         KWD, Inc.

                                         Represented in the US by:

                                         Robert J. Kipnees
                                         Lowenstein Sandler LLP
                                         1251 Avenue of the Americas
                                         New York, New York 10020
                                               --AND--
                                         65 Livingston Avenue
                                         Roseland, New Jersey 07068
                                         Tele: 973-597-6220
                                         Fax: 973-597-6221
                                         rkipnees@lowenstein.com

                                         Represented in England by:

                                         Mark Nicholson
                                         Nicholsons Solicitors
                                         23 Alexandra Road
                                         Lowestoft, Suffolk NR32 1PP
                                         Tel: 01502 532 324
                                         mnicholson@nicholsonslaw.com




                                              3
     Case 1:15-cv-08910-AJN         Document 58        Filed 07/29/16       Page 4 of 16



         b.    Defendants:                Gnutti Carlo S.p.A and Gnutti Carlo USA,
                                          Inc.

                                          Represented in the US by:

                                          John E. Zummo
                                          Howard & Howard Attorneys PLLC
                                          200 S. Michigan Avenue
                                          Chicago, IL 60604
                                          Tel: (312) 456-3425
                                          jzummo@howardandhoward.com

                                          Bonnie Lynn Chmil
                                          Katten Muchin Rosenman LLP
                                          575 Madison Avenue
                                          New York, NY 10022
                                          Tel: (212) 940-8800
                                          bonnie.chmil@kattenlaw.com

                                          Represented in England by:

                                          Steven Loble, Esq.
                                          W Legal Limited
                                          47 Red Lion Street
                                          London
                                          WC1R 4PF
                                          Ref. SFL/

7.       Nature and purpose of the proceedings and summary of the facts:

         a.      SUMMARY OF BACKGROUND FACTS

        This case arises out of a Stock Purchase Agreement dated December 11, 2012 (the

“SPA”), pursuant to which defendant Gnutti Carlo, S.p.A (“Gnutti”) purchased non-party WH

Industries, Inc. (“WHI”) from plaintiffs Kenneth Joseph and KWD, Inc. for $30,500,000, plus or

minus any working capital adjustments. After the sale, WHI became Gnutti Carlo USA, Inc.

(“Gnutti USA”). Following the closing of the SPA, the parties to the SPA negotiated post-

closing working capital adjustments to the sale price. At the conclusion of the negotiations, the

parties executed a Settlement Agreement and Release, dated October 23, 2013 (the “Settlement

Agreement”).




                                               4
  Case 1:15-cv-08910-AJN          Document 58        Filed 07/29/16      Page 5 of 16



       Prior to the SPA, Bradonbay, LTD (“Bradonbay”), a United Kingdom company owned

by plaintiffs Kenneth Joseph and KWD, Inc., provided assembly services to WHI in the UK.

From January 1, 2010 to January 31, 2013, Bradonbay mistakenly charged WHI output value

added tax (“VAT”) on those services and remitted that VAT to HM Revenue & Customs

(“HMRC”). WHI then reclaimed the tax it paid to Bradonbay from HMRC as input VAT (the

“UK VAT Error”). The parties discovered the error in or about April 2013. The total amount of

the error was (at that time) £507,754 (the “UK VAT Amount”). On July 16, 2013, through

BDO, LLP (“BDO”), the parties jointly proposed to HMRC that the error should be resolved

through internal adjustments to the parties’ VAT accounts, as opposed to the normal mechanism

which required Bradonbay to submit a claim to HMRC for repayment of the UK VAT Amount

and to refund that amount to Gnutti USA (as the successor to WHI), who would then be required

to return the UK VAT Amount back to HMRC (the “Joint Proposal”).

       On October 28, 2013, after the Settlement Agreement was executed, Bradonbay

withdrew from the Joint Proposal and made a claim to HMRC to receive and retain a refund of

the UK VAT Amount (i.e., without remitting the refund to Gnutti USA for repayment to

HMRC). Bradonbay asserted that it could retain the refund of the UK VAT Amount because the

UK VAT Amount was included in the post-closing adjustments addressed in the Settlement

Agreement and therefore Gnutti USA had released any claim relating to the UK VAT Amount.

Gnutti USA opposed Bradonbay’s claim to receive and retain the UK VAT Amount to the extent

that Gnutti USA would remain obligated to refund a corresponding amount to HMRC. On July

1, 2014, HMRC denied Bradonbay’s claim. On July 17, 2014, Bradonbay initiated an appeal of

HMRC’s decision to the First Tier Tribunal (Tax Chamber) in the UK (the “UK Appeal”). On

December 12, 2014, HMRC applied to have Gnutti USA added as a Second Respondent in the

UK Appeal. Bradonbay opposed the application. Gnutti USA did not object to HMRC’s

application. On May 27, 2015, the Tribunal granted HMRC’s application and Gnutti USA was



                                             5
   Case 1:15-cv-08910-AJN           Document 58        Filed 07/29/16      Page 6 of 16



joined as a Second Respondent to the UK Appeal. On October 15, 2015, as Second Respondent

and pursuant to the directions of the Tribunal, Gnutti USA filed a Statement of Position in the

UK Appeal.

       On November 15, 2015, Plaintiffs commenced this action, alleging that Defendants

breached the Settlement Agreement by trying to orchestrate the return to them and/or interfering

with Bradonbay’s collection of the UK VAT Amount. The parties’ respective positions are set

forth below.

       b.        PLAINTIFFS’ POSITION

       Defendants, sophisticated business entities represented by counsel, knowingly and

voluntarily entered into a Settlement Agreement with Plaintiffs after months of extensive and

intensive negotiations. The terms of the Settlement Agreement are unambiguous and expansive.

The Settlement Agreement encompasses all claims that “exist by reason of, in relation to,

pursuant to or in connection with” a post-closing working capital adjustment—i.e., Working

Capital Items—and thus constitutes a complete bar to those claims. Although Defendants

contend that the Settlement Agreement excluded the UK VAT Amount, Defendants were aware

of, inter alia, the UK VAT Amount well before they entered the Settlement Agreement,

independently investigated the UK VAT Amount, and negotiated and executed a complete

release of their right to the UK VAT Amount. Defendants’ continued efforts to prevent

Bradonbay from recouping the UK VAT Amount constitute a breach of the Settlement

Agreement and a breach of the implied covenant of good faith and fair dealing.

       c.        DEFENDANTS’ POSITION

       This litigation centers entirely on Plaintiffs’ efforts to claim and retain the UK VAT

Amount.     As noted above, the UK VAT Amount results from technical error by plaintiff

Bradonbay—incorrectly charging VAT on services to WHI. Importantly, the error did not cause

a loss to any party or HMRC, and neither party owes HMRC any taxes or is entitled to a refund




                                               6
   Case 1:15-cv-08910-AJN           Document 58        Filed 07/29/16      Page 7 of 16



of any taxes. Rather, as Bradonbay acknowledged in the Joint Proposal (and its papers in the UK

Appeal), the incorrectly charged VAT went around in a circle and back to WHI, leaving the

parties and HMRC in the same position each would have been had the error not occurred.

Nonetheless, as noted by Bradonbay in the Joint Proposal, the statutory mechanism to correct the

error mandates that Bradonbay either:

       (a)    “submit[] a claim for repayment of VAT …[and] … upon receipt of the
              repayment from HMRC, to refund the whole amount to GC [Gnutti USA, as the
              successor to WHI] by virtue of the reimbursement arrangements in Regulations
              43A to 43G of the VAT Act of 1994 [,who] would then be obliged to adjust its
              input claim [pay that same amount back to HMRC], meaning that the funds would
              ultimately end up back in HMRC’s hands”; or

       (b)    “issue a ‘VAT-only’ credit note to GC [, which] would result in Bradonbay …
              having to refund that amount prior to obtaining the effect of [the] credit note
              through its VAT return.”

As Bradonbay represented to HMRC, however, it did “not have the banking facilities or

finances to fund such a significant payment to GC” and the statutory solution was not possible.

Accordingly, Bradonbay suggested and implemented the Joint Proposal to HMRC.

       Nonetheless, after the Settlement Agreement was executed, Bradonbay withdrew from

the Joint Proposal and made a claim to HMRC to receive and retain the UK VAT Amount.

Significantly, if Bradonbay received but retained a refund of the UK VAT Amount, Gnutti USA

would still be obligated to pay that same amount back to HMRC. Thus, Bradonbay would

receive approximately £500,000 (that was not owed to Bradonbay by HMRC or Gnutti USA)

funded by Gnutti USA. Such a claim and unjust result is not permitted under the VAT Act of

1994 (“VATA”).      Accordingly, Bradonbay based its claim on the Settlement Agreement,

asserting that the agreement included adjustments for the UK VAT Amount and thus Mr. Joseph

and KWD (Bradonbay was not a party to the agreement) had already provided consideration to

Gnutti USA in exchange for, among other things, the UK VAT Amount.

       HMRC denied Bradonbay’s claim and rejected Bradonbay’s assertion that the Settlement

Agreement included adjustments for the UK VAT Amount and/or altered the statutory


                                               7
   Case 1:15-cv-08910-AJN            Document 58         Filed 07/29/16       Page 8 of 16



reimbursement arrangements of the VATA. In the midst of prosecuting the UK Appeal (of

HMRC’s decision), Plaintiffs initiated this action in which they re-cast Bradonbay’s claim to the

UK VAT Amount in the UK as a breach of the Settlement Agreement by Defendants. In this

litigation, Plaintiffs’ theory shifted to address the fact that the agreement does not include any

adjustments for the UK VAT Amount. Specifically, Plaintiffs concede that the Settlement

Agreement does not reference the UK VAT Amount but argue that the release therein

“encompassed” all claims relating to all VAT. Therefore, Plaintiffs assert that the release

permits them to affirmatively pursue a claim to the UK VAT Amount while barring Defendants

from contesting or defending that claim. Plaintiffs then allege that Defendants breached the

Settlement Agreement through their interactions with HMRC and participation in the UK Appeal

by “trying to orchestrate the return to them and/or interfering with Plaintiffs’ collection of the

UK VAT Amount.” The relief sought is identical to the claim in the UK—the UK VAT Amount

and/or an order declaring Bradonbay is entitled to the same.

         Plaintiffs’ claim fails for any one of the following reasons.       First, the Settlement

Agreement unquestionably does not encompass the UK VAT Amount. Second, even if all VAT

was a working capital item that was subject to the release, the mutual release in the agreement

(i.e., barring any claim relating to VAT) cannot be used as a platform for one releasor (Plaintiffs)

to make that very claim while simultaneously barring the other releasor (Defendants) from

defending that claim. Accepting Plaintiffs' argument that the release bars all claims to VAT,

then Plaintiffs’ own claim to the UK VAT Amount (including the claims in this litigation) are

barred by the release. Finally, Defendants have not made and cannot (under UK law) make any

claim to the UK VAT Amount that could constitute a breach of the release in the Settlement

Agreement.




                                                 8
   Case 1:15-cv-08910-AJN            Document 58         Filed 07/29/16       Page 9 of 16



        d.        STAGE OF THE UK PROCEEDINGS

        After the instant litigation was initiated, Bradonbay applied to the Tribunal to stay the

appeal proceedings pending resolution of the VAT-related claims in this Court. HMRC and

Defendants consented to the stay.

        e.        STAGE OF THE US PROCEEDINGS

        This action was commenced by the filing of a Complaint by Plaintiffs on November 15,

2015.   Pursuant to this Court’s Order, all fact discovery must be completed on or before

September 15, 2016.      Written discovery commenced on March 31, 2015 and fact witness

depositions will proceed through September 15, 2016. Based upon current timetables, trial is

expected to take place in the fourth quarter of 2016.

        f.        THE UK WITNESSES AND DOCUMENTS

        The parties have disclosed a number of witnesses located in the United Kingdom who

possess information and/or documents relevant to the claims in this matter. Notably, the limited

information and documents sought herein cannot be obtained completely from other sources.

Indeed, virtually all of the occurrences underlying the UK VAT-related claims and defenses

occurred in the UK. The witnesses to those occurrences are located in the UK. Moreover, many

documents relating to the UK VAT Error and the UK VAT Amount are in the possession of

BDO and HMRC and may not be able to be authenticated without testimony from those

witnesses.

        The agreement of most of the below-mentioned witnesses to give evidence in this matter

has been sought. It is believed that some may provide testimony and/or documents voluntarily

but that others, including HMRC, will likely give evidence only pursuant to a formal Request in

conformity with The Hague Evidence Convention.

        For the reasons set forth herein, the United States District Court for the Southern District

of New York believes that the witnesses (whose contact details are given below) will be able to



                                                 9
     Case 1:15-cv-08910-AJN         Document 58         Filed 07/29/16      Page 10 of 16



provide evidence directly relevant to the main issues between the parties and without which the

ends of justice could not be properly met. The United States District Court for the Southern

District of New York believes that this evidence is not available from any other source.

               (i)        List of Subjects for Oral Examination

        The United States District Court for the Southern District of New York

requests that the following individuals be ordered to attend for examination to give evidence

about the following matters. All capitalized terms have the meanings ascribed to them in Section

7a above.

1.      Richard Wild
        Head of Tax Technical Team
        Chartered Institute of Taxation
        1st Floor, Artillery House
        11-19 Artillery Row, London SW1P 1RT
        United Kingdom

       Mr. Wild is the former Director of VAT for BDO and was the individual at BDO who
handled the Joint Proposal and represented the parties in connection therewith. The subjects of
Mr. Wild’s testimony will be:

        (a)    the UK VAT Error and impact of the error on Bradonbay’s and Gnutti USA’s UK
               VAT positions;

        (b)    the procedure under relevant VAT regulations to correct the UK VAT Error;

        (c)    the amount of UK VAT currently subject to Bradonbay’s claim to HMRC for a
               refund of Output VAT under Section 80 VATA 1994 (and the UK Appeal) and
               the specific input VAT claims made by WHI and Gnutti USA that form the basis
               of that amount;

        (d)    communications with HMRC in furtherance of the Joint Proposal;

        (e)    communications with Bradonbay and Gnutti regarding the Joint Proposal;

        (f)    HMRC’s response to the Joint Proposal;

        (g)    the timing and/or scheduling of inspections by HMRC of Bradonbay’s books and
               records in connection with the Joint Proposal;

        (h)    Bradonbay’s withdrawal from the Joint Proposal;

        (i)    HMRC’s response to Bradonbay’s withdrawal from the Joint Proposal; and

        (j)    authentication of documents if necessary.



                                               10
     Case 1:15-cv-08910-AJN       Document 58         Filed 07/29/16    Page 11 of 16



2.      Nick Crickmore [and/or other designee(s) of HMRC]
        VAT Error Correction Team
        Queens Dock
        22 Kings Parade
        Liverpool AB10 1Zp
        United Kingdom

       Mr. Crickmore is believed to be the individual who handled the above-referenced VAT
error and who coordinated HMRC’s consideration of the Joint Proposal. The subjects of Mr.
Crickmore’s (and/or other designee(s) of HMRC who have knowledge) testimony will be:

        (a)   the UK VAT Error and impact of the error on Bradonbay’s and Gnutti USA’s UK
              VAT positions;

        (b)   the timing of HMRC’s inspections of Bradonbay’s books and records in
              connection with the Joint Proposal;

        (c)   when and how Bradonbay revoked its consent to the Joint Proposal;

        (d)   the amount of UK VAT currently subject to Bradonbay’s claim to HMRC for a
              refund of Output VAT under Section 80 VATA 1994 (and the UK Appeal) and
              the specific input VAT claims made by WHI and Gnutti USA that form the basis
              of that amount;

        (e)   whether Gnutti USA made a claim to HMRC to recoup the UK VAT Amount;

        (f)   communications between HMRC and BDO regarding the Joint Proposal; and

        (g)   authentication of documents if necessary.

3.      Gareth Carter
        Walnut Cottage
        Hulver Street
        Beccles
        Suffolk NR 34 7UE
        United Kingdom

       Mr. Carter was the managing director of Bradonbay in 2013. The subjects of Mr.
Carter’s testimony will be:

        (a)   the UK VAT Error and impact of the error on Bradonbay’s and Gnutti USA’s UK
              VAT positions;

        (b)   the timing of HMRC’s inspections of Bradonbay’s books and records in
              connection with the Joint Proposal;

        (c)   when and how Bradonbay revoked its consent to the Joint Proposal;

        (d)   communications between Bradonbay and HMRC regarding the Joint Proposal;

        (e)   communications between Bradonbay and BDO regarding the Joint Proposal;



                                              11
     Case 1:15-cv-08910-AJN        Document 58          Filed 07/29/16    Page 12 of 16



        (f)    financial information provided by Bradonbay for the estimated Working Capital
               Schedule and Unpaid Transaction Schedules to the SPA;

        (g)    the negotiation of the Settlement Agreement and the post-closing adjustments
               addressed therein;

        (h)    Bradonbay’s financial condition in 2013, including the amount of creditors’
               claims, and why Bradonbay believed it would be a “serious error” for Bradonbay
               to receive a refund of the UK VAT Amount;

        (i)    Bradonbay’s plans to dissolve in 2013; and

        (j)    authentication of documents if necessary.

4.      Mark Nicholson
        Nicholsons Solicitors
        23 Alexandra Road
        Lowestoft
        Suffolk
        NR 32 1PP

      Mr. Nicholson communicated with HMRC regarding the Joint Proposal and represented
Bradonbay in connection with its claim to the UK VAT Amount and the appeal pending in the
UK. The subjects of Mr. Nicholson’s testimony will be:

        (a)    the UK VAT Error and impact of the error on Bradonbay’s and Gnutti USA’s UK
               VAT positions;

        (b)    the procedure under relevant VAT regulations to correct the UK VAT Error;

        (c)    communications with HMRC in furtherance of the Joint Proposal;

        (d)    communications with Bradonbay and Gnutti regarding the Joint Proposal;

        (e)    HMRC’s response to the Joint Proposal;

        (f)    the timing and/or scheduling of inspections by HMRC of Bradonbay’s books and
               records in connection with the Joint Proposal;

        (g)    Bradonbay’s withdrawal from the Joint Proposal;

        (h)    HMRC’s response to Bradonbay’s withdrawal from the Joint Proposal;

        (i)    topics on which Mr. Nicholson provides testimony on Plaintiffs’ behalf; and

        (j)    authentication of documents if necessary.

               (ii)       List of Documents Sought for Production

        The United States District Court for the Southern District of New York

also requests that the following produce the following documents, described below, which are in


                                               12
     Case 1:15-cv-08910-AJN        Document 58        Filed 07/29/16      Page 13 of 16



their custody, possession or control, and to answer questions upon oral deposition regarding the

authenticity, purpose and meaning of the documents so produced:

1.      HMRC
        HM Revenue & Customs
        VAT Error Correction Team
        Queens Dock
        22 Kings Parade
        Liverpool AB10 1Zp
        United Kingdom

        (a)   the notice from Bradonbay to HMRC on or about October 28, 2013, withdrawing
              its consent to the Joint Proposal;

        (b)   calendars and diaries relating to HMRC’s inspection of Bradonbay’s books and
              records in connection with HMRC’s consideration of the Joint Proposal;

        (c)   the emails in September and October of 2013 with Richard Wild of BDO and/or
              Mark Nicholson relating to the scheduling of HMRC’s inspection of Bradonbay’s
              books and records in connection with HMRC’s consideration of the Joint
              Proposal;

        (d)   inspection reports reflecting HMRC’s October 2013 inspection of Bradonbay’s
              books and records in connection with HMRC’s consideration of the Joint
              Proposal and the results thereof;

        (e)   HMRC’s most recent calculation of the amount of UK VAT currently subject to
              Bradonbay’s claim to HMRC for a refund of Output VAT under Section 80
              VATA 1994 (and the UK Appeal);

        (f)   the specific input VAT claims made by WHI and Gnutti USA that form the basis
              of UK VAT currently subject to Bradonbay’s claim to HMRC for a refund of
              Output VAT under Section 80 VATA 1994 (and the UK Appeal); and

        (g)   the record of Gnutti USA’s re-payment of the £52,080.59 claimed by WH
              Industries, Inc. in its November 2012 input VAT return on Bradonbay, Ltd.
              invoices.

2.      BDO, LLP
        16 The Havens
        Ransomes Europark
        Ipswich
        Suffolk
        IP3 9SJ

        (a)   BDO, LLP’s file relating to its joint representation of the Parties in connection
              with the Joint Proposal;




                                              13
     Case 1:15-cv-08910-AJN         Document 58        Filed 07/29/16       Page 14 of 16



        (b)    communications between BDO, LLP and HMRC in furtherance of the Joint
               Proposal;

        (c)    any other documents received by BDO, LLP from HMRC relating to the Joint
               Proposal;

        (d)    communications between BDO, LLP and Bradonbay, Ltd. (or its agents) relating
               to the Joint Proposal; and

        (e)    communications between BDO, LLP and Gnutti Carlo, USA (or its agents)
               relating to the Joint Proposal.

8.      Evidence to be obtained:               Defendants seek testimony and documents
                                               from the entities and individuals listed
                                               above in Section 7f.

9.      Identity and addresses of persons Please see list of witnesses itemized
        to be examined:                   above.


10.     Subject matter about which the Please see list of subjects itemized above.
        witnesses will be examined:

11.     Documents or other property to be Please see list of documents itemized
        inspected:                        above.


12.     Any requirement that the evidence None.
        be given on oath or affirmation
        and any specific form to be used:

13.     Special methods or procedures to
        be followed:

         The United States District Court for the Southern District of New York

respectfully requests assistance in appointing an English Examiner for the purpose of compelling

oral testimony for use at trial from English witnesses. The United States District Court for the

Southern District of New York further requests that Defendants’ counsel, Steven Loble, a solicitor

with the London firm of W Legal Limited, arrange for the nomination of an Examiner in this

matter. This Request is made pursuant to, and in conformity with: Article 18 of The Hague

Evidence Convention of March 18, 1970; the Evidence (Proceedings in Other Jurisdictions) Act

1975; the Local Rules of the United States District Court for the Southern District of New York;




                                               14
  Case 1:15-cv-08910-AJN           Document 58         Filed 07/29/16      Page 15 of 16



and Rule 34 of the United States Federal Rules of Civil Procedure.

       The United States District Court for the Southern District of New York

further requests that the parties’ representatives or their designees, a court reporter and a

videographer be permitted to be present during the examination; that the representatives or

designees be permitted to examine and cross-examine the witnesses directly; and that a court

reporter and a videographer be permitted to make a verbatim record of the proceedings.

14.   Request for notification of the      It is requested that testimony be taken at such
      times and place for the              place, date or time as ordered by the Senior
      execution of the Request and         Master and/or as otherwise scheduled by the
      identity of the person to be         representatives of Defendants and/or as
      notified:                            otherwise agreed to by the witnesses and the
                                           respective representatives of the Parties.

                                           Notice thereof should be made to Defendants’
                                           UK designee:

                                           Steven Loble, Esq.
                                           W Legal Limited
                                           47 Red Lion Street
                                           London
                                           WC1R 4PF
                                           Ref. SFL/

15.   Request for attendance or None.
      participation     of     judicial
      personnel of the requesting
      authority at the execution of the
      Letter of Request:

16.   Specification of privilege or        Under the laws of the United States, a party
      duty to refuse to give evidence      has a privilege to refuse to give evidence if
      under the laws of the State of       the evidence discloses the contents of a
      origin:                              confidential communication between that
                                           party and an attorney for that party that was
                                           made for the purpose of obtaining legal
                                           advice.

                                           Parties also enjoy limited privileges on other
                                           grounds not relevant here such as
                                           communications between physician and
                                           patient, psychotherapist and patient, husband
                                           and wife, or clergy and penitent.

                                           US law also recognizes a privilege against


                                               15
  Case 1:15-cv-08910-AJN              Document 58      Filed 07/29/16       Page 16 of 16



                                            criminal self-incrimination.

                                            Outside the strict area of privilege, certain
                                            limited immunities are available that may
                                            place restrictions on the giving of evidence,
                                            such as the limited protection of documents
                                            created as the work product of attorneys
                                            during or in anticipation of litigation.


17.   The fees and costs incurred
      which are reimbursable under
      the second paragraph of Article
      14 or under Article 26 of the
      Convention will be borne by
      Defendants.

18.   Date of Request:                      _________________, 2016


                                           _____________________________________
19.   Signature and seal         of    the Honorable Judge,
      Requesting Authority:                UNITED STATES DISTRICT COURT FOR
                                           THE SOUTHERN DISTRICT OF NEW
                                           YORK

       This Court expresses its appreciation to you for your courtesy and assistance in this

matter and states that, pursuant to the authority of 28 U.S.C. § 1782, it stands ready and willing

to do the same for you in a similar matter when required.



Attachments:




                                               16
